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A Protessionat Corporation

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Attorneys for Plaintitf

UNITED STATES DlSTR|CT COURT
EASTERN DISTR|CT OF CALIFORNIA, FRESNO DlVlSlON

ARlEl_ EL|A, individualty and as
Successor Trustee to the Alan Eiia
Declaration of Trust Dated I\flaroh 18,
2002,

Case No. 1116-cv-00557-AWl-EPG

Piaintiff, PLA|NTIFF’S BR|EF ON WHETHER
BIFURCATED TRIAL OF PROBATE
CODE §859 |SSUES ARE TRIABLE

BEFORE THE COURT OR A JURY

V.

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JOHN ROBERTS, an individual; )
TEXAS ENVIRONMENTAL )
PRODUCTS, |NC., a Texas )
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corporation; and TEXAS Tria| Date: October 31, 2017

 

ENVIRONNIENTAL PRODUCTS, a TlME: 8:30 a.m.
partnership, joint venture or other DEPT: 2
form of business organization
unknown, and DOES 1 through 20,
inclusive,
Defendants.
|. lNTRODUCTiON

On October 23, the court ruled on motions in limine and the motion to bifurcate
by the Defendant. lt reserved the issue of Whether the bifurcated trial on issues under
Probate Code §859, specifical|y, whether Defendants, or either of them, acted in bad
faith in wrongfully taking or disposing of money owed to a trust and aliowing for the
doubting of damages awarded and an allowance of reasonable attorney’s fees and
costs. Piaintiff submits the following in support of the request that the bifurcated triai

proceed before a jury as opposed to the court.

i`-’LA|NT|FF'S BR|EF ON lSSUE OF BIFURCATED TR!AL OF PROBATE CODE §859

 

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ll. ARGUN|ENT

A. `l`l-iE RlGHT TO JURY TRIAL EX|STS EVEN |F UNDER STATE LAVV
THE |SSUE lS NOT JURY TRIABLE lN THE STATE COURT AND lF THE
ACCOUNTING iS ONE TO DETERM|NE THE AMOUNT OF lVlONEY OWED l'l' tS A
l_EGAL CLAilVl FOR PAYl\/lENT Ol: A DEBT THAT lS JURY TR|ABLE.

in a diversity case, the right to jury trial is determined by federal, not state law
and the question is simply whether the claim is legai or equitable lf the claim seeks
damages it is legal and jury triab|e. (Simiar v. Conner(1963) 372 U.S. 221, 222; Tull v.
United States (1987) 481 U.S. 412, 421). The right to jury trial exists even if the right
arises under a state law that is not jury triabie in the state court. (Gibson v. KAS Snack
lime Company (8th Cir. 1996) 83 F.3d 225, 230; GTFM LLC v. TKN Sales, lnc. (2nd
Cir.2001). 257 F.3d 235, 238-239; Byrd v. Blue Ridge Rurai Electric Co-op inc (1958)
356 U.S. 525, 538 (federa| law controls the issue even in cases where federal court is
enforcing state created right and even when the state statute would preclude a jury trial
in state court).

An accounting, of course, is the first cause of action aileged in Plaintiff’s
complaint simply because the complaint was filed in the state probate court and is a
petition under Probate Code §850 which can only be brought in the Probate Court
where there is no right to jury triai whatsoever. (Probate Code §825). An accounting is
an equitable action and ls not jury triable. (SEC v. Jasper (9"‘ Cir. 2012) 678 F.3d 1116
1129-1130). But, where the plaintiff seeks damages, either party may demand a jury
trial, even if those damages are merely incidental to equitable relief (Dairy Queen, Inc,
v. Wood ('1962) 369 U.S. 469, 470; Gibson, supra). A money ctaim cast in terms of a
“accounting” rather than terms of an action for a “debt” or "darnages” is not purely
equitabie. ln Dairy Queen, plaintiff sought an accounting to estabiish the amount of
damages owed in a breach of contract action, where the contract in question was a
license agreement for the plaintiff’s trademark. (369 U.S. at 473-75). The Supreme
Court held the defendant was entitled to a trial by jury because although the plaintiff’s

claim was for equitabte accounting, a Constitutionat right to triai cannot be made to

PLAENTIFF’S BR|EF ON ESSUE OF BEFURCATED TR|AL OF PROBATE CODE §859

 

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depend on the choice of words used in the pleading casting a claim to recover money
for breach of contract in terms of an accounting rather than in terms of an action for a
“debt" or “damages." The alleged right to an accounting cannot change the character
oF a claim that ultimately seeks money from a legal one to an equitable one. (ld at p.
476-78).

After Dalry Queen, it is clear that a claim for an accounting of profits, or money
due under a contract is to be treated as the equivalent of a claim for damages for
purposes of determining whether there is a right to a jury trial. (See Sid and i\llary Krofft
'l'elevision Products inc v. thcDonald’s Cor_poration (9th Cir. 1977) 562 F.2d 1157, 1174-
75 (hoiding plaintiffs had a right to trial by jury on its claim for an accounting of profits in
an infringement action)q Plaintiff's accounting claim is no different from the trademark
accounting claim in Dalry Queen. Plaintiff seeks an accounting to determine the
amount of money owed and judgment in that amount, and therefore seeks recovery on
a debt or damages The fact that the doubling of damages and attorney’s fees awards
are only available pursuant to a state statute which expressly denies the right to a trial
by jury does not change the nature of the relief sought. Plaintiff seeks under PC 859
the doubling of any damages awarded by the jury. The 7"‘ Amendment clearly applies
to statutory actions if the ultimate relief sought is money or damages (Cify of
Monterrey v. Del Monte Dunes of Monterrey Ltd. (1999) 526 U.S. 687, 707-708).
Plaintif_f is entitled to a jury trial on its claim for the damages made available by Probate
Code §859. (See Addias America lnc. v. Payless Shoe Source, lnc. (D.Ore. 2008) 546
F.Supp,.?d 1029, 108?-88).

lil. CONCLUS|ON

For the foregoing reasons, Plaintitf requests that the bifurcated trial proceed
before the jury as opposed to the court.
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PLAENT|FF'S BR|EF ON ESSUE OF BEFURCATED TRlAL_ OF PROBATE CODE §859
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Dated: October 27, 2017 COSTANZO & ASSOC|ATES

By: lslNeal E. Costanzo
Neal E. Costanzo

PLA|NTIFF'S BR|EF ON |SSUE OF BIFURCATED TR!AL OF PROBATE CODE §859
UOO’i 6095.WPD;1 4

 

 

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PROOF OF SERV|CE
The undersigned declares:
|, Julia Se|lers, the undersigned, declare that:

l am employed in the County of Fresno, State of California. l arn over the age of
eighteen years, and am not a party to the within action i\lly business address is 575 E.
LocustAvenue, Suite 115, Fresno California 93720.

l arn familiar with the regular mail collection and processing practice of said
business, and in the ordinary course of business the mail is deposited with the United
States Posta| Service that same day.

On this date, October 27, 2017, l served the foregoing document described as:

PLA|NTlFF’S BR|EF ON WHETHER BlFURCATED TRiAL OF PROBATE CODE
§859 lSSUES ARE TRIABLE BEFORE THE COURT OR A JURY

on all parties to this action by causing a true copy thereof to be:

Telecopied Via Facsimile
Placed in a sealed envelope with postage thereon fully prepaid in the
designated area for outgoing mail
Delivered by Hand
Sent Via Overnight Delivery (see below)
) Sent Via Electronic l\llaii (email)

XV`./ v\-.»¢'

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(
as addressed below:

l\llarshall Whitney

Kelly i_owe

lVicCormick Barstow, l_LP
7647 l\l. Fresno Street
P.O. Box 28912

Fresno, CA 93729-8912

l declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Dated: October 27, 2017 By: /sl.julia Sellers
Ju|ia Sel|ers

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